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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 OPTUM, INC. and
 OPTUM SERVICES, INC.,

                         Plaintiffs,              Civil Action No.: 19-cv-10101

           v.

 DAVID WILLIAM SMITH,

                         Defendant.


        PLAINTIFFS’ MOTION FOR IMPOUNDMENT OF MEMORANDUM
    IN SUPPORT OF THEIR MOTION FOR AN INJUNCTION PENDING APPEAL
      AND/OR AN INDICATIVE RULING ON THE PENDING MOTION FOR A
                    TEMPORARY RESTRAINING ORDER

       Pursuant to L.R. 7.2, Plaintiffs Optum, Inc. and Optum Services, Inc. (together,

“Optum”) respectfully move this Court for an order to file under seal Plaintiffs’ Memorandum of

Law in Support of their Motion for an Injunction Pending Appeal and/or an Indicative Ruling on

the Pending Motion for a Temporary Restraining Order (Dkt. # 58) (the “Memorandum”). The

Memorandum contains references to, and content from, transcripts of this Court’s proceedings on

Plaintiffs’ Motion for a Temporary Restraining Order that were held on January 30 and January

31, 2019. Although much of the proceedings were conducted in open court, the entirety of the

transcripts of those proceedings are currently marked “SEALED / Attorneys’ Eyes Only.”

Although none of the testimony that is cited or quoted in the Memorandum was conducted

during the Court’s brief closed session, out of an abundance of caution given the notations on the

transcripts, all such references to such testimony have been redacted from the version of the

Memorandum that was filed publicly on February 6, 2019. Optum seeks to file the unredacted

version of its Memorandum with the Court and, therefore, files this Motion for Impoundment.
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       Optum will file a hard copy (and, if requested, an electronic copy) of its Memorandum

under seal with the Clerk’s office (or as otherwise instructed) on the date this Court allows this

Motion for Impoundment.

       WHEREFORE, Optum respectfully requests that the Court grant its Motion to file

Plaintiffs’ Memorandum of Law in Support of their Motion for an Injunction Pending Appeal

and/or an Indicative Ruling on the Pending Motion for a Temporary Restraining Order (Dkt. #

58) under seal.

                                                  Respectfully submitted,

                                                  OPTUM, INC. and
                                                  OPTUM SERVICES, INC.,

                                                  By their attorneys,

                                                  /s/ Russell Beck
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                                                  Stephen D. Riden, BBO No. 644451
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 Dated: February 6, 2019


                                 CERTIFICATE OF SERVICE

        I hereby certify that this document has been filed through the CM/ECF system on
February 6, 2019, and will be served electronically to the registered participants as identified on
the Notice of Electronic Filing through the Court’s transmission facilities, and that non-
registered participants have been served this day by mail.

                                                  /s/ Russell Beck




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                            LOCAL RULE 7.1(a)(2) CERTIFICATE

         I certify, pursuant to Local Rule 7.1(a)(2), that counsel for Plaintiffs have conferred with
counsel for Defendant regarding Plaintiffs’ Motion for Impoundment of the Memorandum of
Law in Support of Plaintiffs’ Motion for an Injunction Pending Appeal and/or an Indicative
Ruling on the Pending Motion for a Temporary Restraining Order and have attempted in good
faith to resolve or narrow the issues. Plaintiffs understand that Defendant does not oppose the
relief requested by this motion.

                                                   /s/ Stephen D. Riden
                                                   Stephen D. Riden




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